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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,

                                                    CASE NO.: 1:23-CR-00056-JKB
vs.

BRANDON CLINT RUSSELL,
________________________________/

              ORDER ON DEFENDANT RUSSELL’S MOTION IN LIMINE

       THIS CAUSE having come before the Court on Defendant Brandon Clint Russell’s

Motion In Limine to Exclude 404(b) Evidence and References to Neo-Nazism or the

Atomwaffen Division, it is hereby:

       ORDERED AND ADJUDGED that the Defendant’s Motion is Granted.                           The

Government and its witnesses shall refrain from making reference to any of the items listed in its

404(b) notice, as well as any reference to Neo-Nazism or the Atomwaffen Division.

        DONE AND ORDERED at Baltimore, Maryland this _______ day of October, 2023.



                                                    __________________________________
                                                    JAMES K. BREDAR
                                                    United States District Judge

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Counsel of Record
